76 F.3d 371
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Michael Lynn BROWN, Plaintiff--Appellant,v.Don GUILORY, Warden, Powhatan Correctional Center;  LarryJarvis, Assistant Warden, Powhatan Correctional Center;Jack Lee, Assistant Warden, Augusta Correctional Center;Bobby Soles, Assistant Warden, Buckingham CorrectionalCenter, Defendants-Appellees.
    No. 95-7834.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 11, 1996.Decided Jan. 25, 1996.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.   Robert R. Merhige, Jr., Senior District Judge.  (CA-95-523)
      Before RUSSELL, HALL, and WILKINSON, Circuit Judges.
      Michael Lynn Brown, Appellant Pro Se.
      E.D.Va.
      DISMISSED.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order dismissing his 42 U.S.C. § 1983 (1988) complaint.   The district court assessed a filing fee in accordance with Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case without prejudice when Appellant failed to comply with the fee ordGer.   Finding no abuse of discretion, we deny leave to proceed in forma pauperis and dismiss the appeal.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    